       Case 1:22-cr-00015-APM           Document 868         Filed 07/01/24      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :      No. 22-cr-15-APM
                                               :
THOMAS CALDWELL,                               :
                                               :
                       Defendant.              :

        GOVERNMENT’S CONSENT MOTION TO CONTINUE SENTENCING

       The United States of America respectfully requests that the Court continue Defendant

Thomas Caldwell’s sentencing hearing, which is currently scheduled for July 26, 2024, for a period

of 30-60 days, in light of the decision issued by the Supreme Court last week in United States v.

Fischer, No. 23-5572 (June 28, 2024).

       In Fischer, the Court held that Section 1512(c) does not cover “all means of obstructing,

influencing, or impeding any official proceeding.” However, the Court did not reject the

application of 1512(c)(2) to January 6. Rather, the Court explained that the government must

establish that the defendant impaired the availability or integrity for use in an official proceeding

of records, documents, objects, or other things used in the proceeding – such as witness testimony

or intangible information – or attempted to do so. The United States seeks this continuance to

evaluate the impact of the Court’s decision in Fischer on the defendant’s case.

       “It is firmly established that the granting or refusal of a continuance is a matter within the

discretion of the judge who hears the application, and is not subject to review absent a clear abuse.”

United States v. Burton, 584 F.2d 485, 489 (D.C. Cir. 1978). A court’s review of a motion to

continue “necessarily depends on all the surrounding facts and circumstances,” including: (1) the

length of the requested delay; (2) whether other continuances have been requested and granted; (3)

the balanced convenience or inconvenience to the litigants, witnesses, counsel, and the court; (4)
       Case 1:22-cr-00015-APM           Document 868        Filed 07/01/24        Page 2 of 2




whether the requested delay is for legitimate reasons, or whether it is dilatory, purposeful, or

contrived; (5) whether the defendant contributed to the circumstance which gives rise to the request

for a continuance; (6) whether denying the continuance will result in identifiable prejudice to

defendant's case, and if so, whether this prejudice is of a material or substantial nature; (7) and

other relevant factors which may appear in the context of any particular case. Id. at 491.

       Here, the United States seeks a continuance to assess the impact of the Fischer decision. A

brief continuance of 30-60 days would not prejudice the defendant or the Court; to the contrary, it

would help to ensure a uniform and consistent approach before each judge of the District and

Circuit. The United States has consulted with counsel for the defendant, who does not oppose and

in fact joins in this request to continue sentencing.

       WHEREFORE, the United States respectfully requests that the Court continue the

defendant’s sentencing for a period of 30-60 days.


                                               Respectfully Submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               D.C. Bar No. 481052

                               By:                    /s/
                                               Kathryn L. Rakoczy
                                               Assistant United States Attorney
                                               D.C. Bar No. 994559




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